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EXHIBIT 26

 

 

 

Wald-Margolis, Dina

From: Wald-Margolis, Dina

Sent: Thursday, May 02, 2013 2:33 PM
To: Suarez, Maria

Ce: Wilkinson, John; Bernitt, Frances
Subject: RE: job classification

Sure. Please let me know how this came about so | can address all aspects.

Dina J. Wald-Margolis, PHR

Human Resources Department
Southern Wine & Spirits of New York
313 Underhill Boulevard

PO Box 9034

Syosset, NY 11791-9034

Phone: 516-730-3262

Fax: 516-730-8266

 

ij From: Suarez, Maria
| Sent: Thursday, May 02, 2013 1:54 PM
‘ To: Wald-Margolis, Dina
Cc: Wilkinson, John; Bernitt, Frances
Subject: RE: job classification

Hello Dina,

This message was intended for my boss with the sole purpose of classifying all members of my team equally. But after
your suggestion | spoke to my team, and yes, they would like clarification on the topic.

| appreciate your help.

Maria

 

j From: Wald-Margolls, Dina

Sent: Thursday, May 02, 2013 1:30 PM
To: Suarez, Maria
Cc: Wilkinson, John; Bernitt, Frances
Subject: FW: job classification

| Thank you for bringing this to our attention. Allow me to clarify how the employees are classified, all of them have the
title of Inventory Control Clerk, assigned to the warehouse days department. The subcategory seems to be different for
3 out of the 4 employees. There are various reasons why this may have happened, none of which | guarantee you was
based upon gender.

Other positions within the company have been identified as having miss-matched subcategories, but due to an issue
with SAP and taxation, subcategories will be fixed as of 1/1/2014.

Please let me know if | need to speak with any of the employees to assure them this was not classified by gender.

Thank you —
Dina

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Dina J. Wald-Margolis, PHR
Human Resources Department

Southern Wine & Spirits of New York

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313 Underhill Boulevard
PO Box 9034

Syosset, NY 11791-9034
Phone: 516-730-3262
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From: Wilkinson, John

Sent: Thursday, May 02, 2013 1:01 PM
To: Wald-Margolis, Dina; Bernitt, Frances
Subject: FW: job classification

See below.

John

 

From: Suarez, Maria

Sent: Thursday, May 02, 2013 11:37 AM
To: Wilkinson, John

Subject: job classification

Hi John, did you know that my team is classified different by payroll?

The three ladies are “ADMN” administration
And Justin is classified as “WHSD” warehouse days

I'm sure is Just a mistake, but it looks like they were classified by sex. Can you please request that to be fixed?
\ think the best way to do it is to insist on all of them to be moved to a new department (as per our previous
conversation and approved by you), | sent an email to Fran, if you can a rush on it, | appreciate it,

Maria,

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PL000266.——---------

 
